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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 RENARDA JERMAL SMITH,

               Plaintiff,                                CIVIL ACTION NO.: 6:18-cv-119

        v.

 LIEUTENANT FNU HARTMEYER,

               Defendant.


                                          ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, (doc. 46). Plaintiff did not file Objections

to the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court. The Court GRANTS Defendant’s construed Motion to Dismiss,

DISMISSES without prejudice Plaintiff’s Amended Complaint based on his failure to exhaust

his administrative remedies, DIRECTS the Clerk of Court to CLOSE this case and enter the

appropriate judgment of dismissal, and DENIES Plaintiff leave to appeal in forma pauperis.

       SO ORDERED, this 25th day of May, 2021.




                                     R. STAN BAKER
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
